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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISCTRICT OF COLUMBIA

                          CASE NO: 1:21-CR-677-TSC

                       Magistrate Judge: G. Michael Harvey

UNITED STATES OF AMERICA

      Plaintiff,

vs.

MOISES ROMERO,

     Defendant.
________________________________/

       ENTRY OF APPEARANCE SOLELY FOR THE PURPOSE OF
           SPONSORING THE ADMISSION OF ATTORNEY
                 TODD A. ONORE PRO HAC VICE

      Pursuant to Criminal Local Rule 44.1(c) and (d), Undersigned counsel files

this limited entry of appearance for the sole purpose of sponsoring Todd A. Onore

in his Pro Hac Vice motion, which motion and declaration have been filed. As set

forth in Mr. Onore’s declaration, he is admitted and an active member in good

standing in the following courts and bars; the Florida State Bar and the United

States District Court for the Southern and Middle Districts of Florida. Once the

motion is granted, undersigned counsel anticipates withdrawing his appearance

with the Court’s permission.
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                                     Respectfully submitted,

                                     S/David G. Barger
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on December 2, 2021, undersigned counsel
electronically filed the foregoing document with the Clerk of Court utilizing the
CM/ECF system notifying all parties of record.

                                     Respectfully submitted,

                                     s/David G. Barger
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